Case 3:23-cv-00636         Document 134        Filed 09/26/24     Page 1 of 2 PageID #: 2162




                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               HUNTINGTON DIVISION

OPAL R. SLONE,
individually and as the
Administratrix of the Estate of
Jacquline Hudson,

       and

THE ESTATE OF JACQULINE HUDSON

       Plaintiffs,

       vs.                                                  Case No.: 3:23-CV-00636

JEFFREY RACER, et al.                                       HON. ROBERT C. CHAMBERS

       Defendants.

   PLAINTIFFS’ MOTION TO COMPEL SECOND DEPOSITION OF DEFENDANT
                         JEFFERY RACER, JR.

       COMES NOW the Plaintiff Opal R. Slone, individually and as the Administratrix of the

Estate of Jacquline Hudson, by and through Tyler C. Haslam and Haslam Law Firm LLC and

Kerry A. Nessel and Nessel Law Firm PLLC, and movees this Court to compel a second deposition

of Defendant Jeffery Racer, Jr. pursuant to Fed. R. Civ. P. 30(a)(2)(A)(ii). The reasons in support

of this motion are set forth in the contemporaneously filed memorandum of law.

                                             By counsel

                                             /s/Tyler Haslam
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Case 3:23-cv-00636       Document 134      Filed 09/26/24    Page 2 of 2 PageID #: 2163



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                              CERTIFICATE OF SERVICE

       The foregoing was electronically served upon all counsel of record via the Court’s

CM/ECF filing system on the 26th day of September, 2024.


                                          PLAINTIFFS,
                                          By counsel

                                          /s/Tyler Haslam
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